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 7                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8                            EASTERN DISTRICT OF CALIFORNIA
 9
10      UNITED STATES OF AMERICA,           )              NO. 1:1:06-CR-00059-AWI
                                            )
11                        Plaintiff,        )              ORDER CONTINUING
                                            )              SENTENCING HEARING
12            v.                            )
                                            )              [Document # 527]
13      FRANCHESKA BRIZAN,                  )
                                            )
14                        Defendant.        )
        ____________________________________)
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            GOOD CAUSE APPEARING from the STIPULATION CONTINUING SENTENCING
17
     HEARING filed by defense counsel on December 9, 2009,
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              IT IS HEREBY ORDERED that the sentencing hearing date is continued from
19
     December 14, 2009 to January 18, 2010 at 11:00 a.m.
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21
     IT IS SO ORDERED.
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     Dated:     December 10, 2009                  /s/ Anthony W. Ishii
23   0m8i78                               CHIEF UNITED STATES DISTRICT JUDGE
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